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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

                                                                       )
In re:                                                                 )    Chapter 11
                                                                       )
CARESTREAM HEALTH, INC., et al.,1                                      )    Case No. 22-11778 (JKS)
                                                                       )
                                    Debtors.                           )    (Jointly Administered)
                                                                       )

                                 DECLARATION OF
                          SCOTT H. ROSA, CHIEF FINANCIAL
                      OFFICER OF CARESTREAM HEALTH, INC.,
                     IN SUPPORT OF THE DEBTORS’ DISCLOSURE
                 STATEMENT FOR, AND CONFIRMATION OF, THE JOINT
                PREPACKAGED CHAPTER 11 PLAN OF REORGANIZATION
              OF CARESTREAM HEALTH, INC., AND ITS DEBTOR AFFILIATES

         I, Scott H. Rosa, hereby declare under penalty of perjury as follows:

                                      Background and Qualifications

         1.      I am the Chief Financial Officer of Carestream Health, Inc. (“Carestream Health,”

and together with the other above-captioned debtors and debtors in possession, the “Debtors,” and

collectively with their non-debtor affiliates, “Carestream” or the “Company”).

         2.      I have approximately seventeen years of experience in the healthcare technology

sector, with particular expertise in finance, accounting, and corporate operations. I received a

Bachelor of Science degree in accounting from SUNY Geneseo in 1996, and I am a Certified

Public Accountant in the State of New York. From September 1996 until September 2002, I

worked at Pricewaterhouse Coopers, where I served as an Assurance Manager for both large public



1   The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
    number, are: Carestream Health, Inc. (0334); Carestream Health Acquisition, LLC (0333); Carestream Health
    Canada Holdings, Inc. (7700); Carestream Health Holdings, Inc. (7822); Carestream Health International
    Holdings, Inc. (5771); Carestream Health International Management Company, Inc. (0532); Carestream Health
    Puerto Rico, LLC (8359); Carestream Health World Holdings, LLC (1662); and Lumisys Holding Co.
    (3232). The location of the Debtors’ service address is: 150 Verona Street, Rochester, New York 14608.
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and mid-sized private companies. From September 2002 until January 2007, I served as Controller

within various business units at Carestream’s predecessor, Eastman Kodak Company (“Kodak”),

including serving as the Controller for Kodak’s Health Group.                   Following the May 2007

acquisition of Kodak’s Health Group by Onex Corporation (together with its affiliates, “Onex”), I

served as Controller of Carestream. During the Company’s formation, I was an initial member of

the Company’s finance leadership team and I helped establish the Company’s finance department

and its operating mechanisms. I also assisted with multiple acquisitions and divestitures while in

that role. In August 2018, I was appointed Chief Financial Officer of Carestream.

        3.      I submit this declaration (this “Declaration”) in support of approval of the

Disclosure Statement for the Joint Prepackaged Chapter 11 Plan of Reorganization of Carestream

Health, Inc., and Its Debtor Affiliates [Docket No. 15] (as modified, amended, or supplemented

from time to time, the “Disclosure Statement”) and confirmation of the Joint Prepackaged

Chapter 11 Plan of Reorganization of Carestream Health, Inc., and Its Debtor Affiliates

[Docket No. 14] (as modified, amended, or supplemented from time to time, the “Plan”).2 In my

capacity as Chief Financial Officer of Carestream, I am generally familiar with the Debtors’

day-to-day operations, business and financial affairs, and books and records. Except where

specifically noted, the statements in this Declaration are based upon my personal knowledge and

experience, my review of relevant documents and information concerning the Debtors’ operations,

financial affairs, and restructuring initiatives, and information obtained from other members of the

Debtors’ management team or the Debtors’ advisors.




2   Capitalized terms used but not defined herein have the meanings ascribed to them in the Debtors’ Memorandum
    of Law in Support of an Order Approving the Debtors’ Disclosure Statement for, and Confirming, the
    Joint Prepackaged Chapter 11 Plan of Reorganization of Carestream Health, Inc., and Its Debtor Affiliates
    (the “Memorandum”), filed contemporaneously herewith, or the Plan, as applicable.


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        4.      I am authorized to submit this Declaration on behalf of the Debtors. If called to

testify, I would testify to the facts set forth herein.

                                    The Proposed Restructuring

        5.      The Plan is the culmination of months of effort by the Debtors and their key

stakeholders to right size the Debtors’ capital structure and position the Debtors for long-term

success. Leading up to the Petition Date, Carestream engaged in discussions with an ad hoc group

of holders of First Lien Claims and Second Lien Term Loan Claims (the “Crossover Group”)

regarding a comprehensive balance sheet solution. As a result of these extensive, good-faith,

arm’s-length negotiations, the Debtors reached an agreement with their Sponsor, lenders holding

more than 70 percent of the outstanding First Lien Claims, and lenders holding more

than 99 percent of the outstanding Second Lien Term Loan Claims on the terms of the

Restructuring Transactions set forth in the Restructuring Support Agreement. At the same time,

to facilitate the implementation of the Restructuring Transactions contemplated by the Plan, certain

members of the Crossover Group committed to provide the Debtors with up to $80 million in

debtor‑in‑possession financing to cover the administrative costs of these chapter 11 cases and to

backstop the Rights Offering through the DIP Rollover. The Restructuring Support Agreement,

the Plan, and the Restructuring Transactions contemplated thereunder will deleverage the Debtors’

balance sheet by approximately $470 million, provide liquidity to support the Reorganized

Debtors’ operations, and create a clear and viable path to long-term financial success.

        6.      Pursuant to the Restructuring Support Agreement, the Debtors solicited votes on

the prepackaged Plan before the Petition Date. The key terms of the Restructuring Transactions,

as set forth in the Restructuring Support Agreement and the Plan, as amended, are as follows:

                a.      certain members of the Crossover Group have committed to provide the
                        Debtors with access to up to $80 million in debtor-in-possession financing
                        consisting of (a) a $5 million tranche that will be repaid in full in cash, and
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                       (b) a $75 million tranche that will be partially satisfied with proceeds of an
                       equity rights offering, if any, and the remainder will be equitized into New
                       Common Stock through the DIP Rollover, subject to dilution by the
                       Debtors’ Management Incentive Plan;

               b.      each holder of an Allowed First Lien Claim shall receive (a) cash in an
                       amount equal to 3% of its Allowed First Lien Claim and (b) its pro rata
                       share of the New Term Loan Facility in aggregate principal amount of
                       approximately $541 million for the remainder of its claim, provided that
                       holders of Allowed First Lien Revolving Claims may elect to roll a portion
                       of their Allowed First Lien Revolving Claims into new loans under the New
                       ABL Facility pursuant to the ABL Roll Option;

               c.      the Debtors’ existing Second Lien Term Loan will be cancelled and each
                       holder of an Allowed Second Lien Term Loan Claim shall receive its pro
                       rata share of (a) 10% of the New Common Stock, subject to dilution by the
                       Debtors’ Management Incentive Plan, and (b) the right to purchase for cash
                       its pro rata share of 80% of the New Common Stock, subject to dilution by
                       the Debtors’ Management Incentive Plan;

               d.      each Holder of an Allowed General Unsecured Claim will be paid in full in
                       cash or have its claim reinstated; and

               e.      existing equity interests in Carestream Health Holdings, Inc. will be
                       cancelled on the Effective Date.

       7.      The Debtors have received unanimous support for the Plan among voting

creditors—73 percent of the Holders of First Lien Claims (Class 3) and 98 percent of the Holders

of Second Lien Term Loan Claims (Class 4) voted to accept the Plan. Importantly, no Holder of

Claims in any of the Voting Classes voted to reject the Plan or opted out of the Third-Party Release.

The Plan represents the culmination of significant efforts by multiple parties in interest to reach a

fair and equitable resolution of various complex business and legal issues, resulting in a Plan that

provides significant value for the Debtors’ stakeholders and a vehicle for the Debtors’ successful

culmination of the deleveraging of the Debtors’ balance sheet.

       8.      I believe the proposed restructuring pursuant to the Plan is fair and equitable,

maximizes stakeholder value, represents the best path forward for a successful emergence from



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chapter 11, is in the best interests of the Debtors and all their stakeholders, and that, accordingly,

the Court should confirm the Plan.

                    The Debtors’ Need to Quickly Emerge from Chapter 11

        9.      The Debtors are seeking to confirm the Plan on September 28, 2022, thirty-six days

after the Petition Date. Preserving value for the benefit of the Debtors’ Estates depends, in large

part, on the Debtors confirming the Plan and quickly emerging from chapter 11. Emerging swiftly

from chapter 11 will permit the Debtors to minimize uncertainty for employees, customers, and

vendors; mitigate potential disruptions to their supply chain and businesses; and reduce

incremental professional fees and other administrative costs that would lessen the Reorganized

Debtors’ cash on hand at emergence. Given that the Plan has been unanimously accepted by all

Classes of creditors entitled to vote and that the Plan is uncontested, the expeditious confirmation

of the Plan and the consummation of the Restructuring Transactions are in the best interests of the

Debtors, their Estates, and all interested parties.

       The Disclosure Statement Satisfies the Requirements of the Bankruptcy Code

        10.     For the reasons detailed below (except where such satisfaction is apparent on the

face of the Disclosure Statement), and based on consultation with the Debtors’ advisors, I believe

the Disclosure Statement satisfies the applicable Bankruptcy Code requirements.

        11.     I understand that with respect to prepetition solicitation of a plan, such as the case

was here, solicitation of a plan must either comply with applicable non-bankruptcy law or provide

“adequate information” as defined in section 1125(a) of the Bankruptcy Code. Because the

Holders of Claims in the Voting Classes were not offered and will not receive securities in a

“public offering” and are “accredited investors,” I understand that the prepetition solicitation of

the Plan was exempt from compliance with the Securities Act.



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         12.       I understand that a disclosure statement must provide “adequate information,”

which is information sufficient to allow hypothetical investors to make informed decisions on

whether to vote to accept or reject a chapter 11 plan. The Disclosure Statement contains, among

other things, descriptions and summaries of: (a) the Debtors’ corporate history and corporate

structure, business operations, and prepetition capital structure and indebtedness;3 (b) the events

leading to these chapter 11 cases, including the Debtors’ prepetition restructuring efforts and entry

into the Restructuring Support Agreement;4 (c) the classification and treatment of Claims and

Interests under the Plan, including who is entitled to vote and how to vote on the Plan;5 (d) a

summary of the Plan;6 (e) certain important effects of confirmation of the Plan;7 (f) the discharge,

releases, exculpation, and injunction contemplated by the Plan;8 (g) certain financial information

about the Debtors, including financial projections and a liquidation analysis, and a discussion of

the valuation of the Reorganized Debtors;9 (h) the statutory requirements for confirming the

Plan;10 (i) certain risk factors Holders of Claims should consider before voting to accept or reject

the Plan and information regarding alternatives to confirmation of the Plan;11 (j) certain important




3    See Disclosure Statement Art. V.

4    See id. Art. VI.

5    See id. Art. III.D and Art. III.E.

6    See id. Art. IV.

7    See id. Art. III.I and Art. X.

8    See id. Art. III.O.

9    See id. Art. X.F, Exhibit C, Exhibit D, and Exhibit E.

10   See id. Art. X.

11   See id. Art. VIII.


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disclosures regarding securities laws;12 and (k) certain U.S. federal income tax consequences of

the Plan.13

         13.       In addition, prior to solicitation, the Disclosure Statement and the Plan were subject

to review and comment by the Crossover Group and their respective advisors. Furthermore, I

understand that no stakeholder has asked for additional information nor disputed that the

Disclosure Statement contained information sufficient for impaired claimants to be able to cast an

informed vote on the Plan. I believe that the information in the Disclosure Statement accurately

describes the Debtors’ businesses and the Plan, and the Disclosure Statement is true and correct to

the best of my knowledge. Thus, I believe that the Disclosure Statement contains “adequate

information,” as that term is used in section 1126(b)(2) of the Bankruptcy Code.

                         The Plan Satisfies the Requirements of Confirmation

         14.       For the reasons detailed below and based on discussions with the Debtors’

management team and advisors, I believe the Plan satisfies the applicable Bankruptcy Code

requirements for confirmation.14

I.       THE PLAN COMPLIES WITH THE APPLICABLE PROVISIONS OF THE
         BANKRUPTCY CODE — § 1129(A)(1).

         A.        Proper Classification of Claims and Interests — § 1122.

         15.       I understand that the Plan’s classification of Claims and Interests satisfies the

requirements of section 1122 of the Bankruptcy Code because the Plan places Claims and Interests



12   See id. Art. XI.

13   See id. Art. XII.

14   Evidence of the Debtors’ compliance with additional factors of the Bankruptcy Code necessary for confirmation
     of the Plan is contained in the Declaration of Marc Brown, Managing Director of AlixPartners, LLP, in Support
     of the Debtors’ Disclosure Statement for, and Confirmation of, the Joint Prepackaged Chapter 11 Plan of
     Reorganization of Carestream Health, Inc., and Its Debtor Affiliates (the “Brown Declaration”), filed
     contemporaneously herewith.


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into nine separate Classes15 based on legal or factual distinction or otherwise based on other

relevant criteria. I believe that the differences in classification are in the best interests of creditors,

foster the Debtors’ reorganization efforts, do not violate the absolute priority rule, and do not

needlessly increase the number of classes.

         16.     Valid business, legal, and factual reasons justify the separate classification of the

particular Claims or Interests into the Classes created under the Plan, and no unfair discrimination

exists between or among Holders of Claims and Interests. Generally, Claims (rights to payment)

are classified separately from Interests (representing ownership in the businesses). Specifically,

Other Priority Claims (Class 2) are classified separately because of their relative priority and

because I understand the Bankruptcy Code requires such Claims to be paid in full. The Plan

classifies Existing Interests (Class 8) separately from Intercompany Interests (Class 7) because the

Debtors’ ownership structure is dependent upon maintaining the Intercompany Interests and,

therefore, the Intercompany Interests may be preserved under the Plan for the administrative

convenience of ensuring the preservation of the Debtors’ corporate structure after the Effective

Date. First Lien Claims (Class 3) are classified separately from Second Lien Term Loan Claims

(Class 4) because of the different circumstances of each Class and the relative priority of their

Claims against the Debtors. Finally, General Unsecured Claims (Class 5) are separately classified

because they have differing legal rights then the Debtors’ secured creditors and play a distinct role

in ensuring the future economic viability of the Reorganized Debtors.




15   Article III.A of the Plan provides for the following Classes: Class 1 (Other Secured Claims); Class 2 (Other
     Priority Claims); Class 3 (First Lien Claims); Class 4 (Second Lien Term Loan Claims); Class 5 (General
     Unsecured Claims); Class 6 (Intercompany Claims); Class 7 (Intercompany Interests); Class 8 (Existing
     Interests); and Class 9 (Section 510(b) Claims).


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         17.      Accordingly, I submit that the Plan complies with and satisfies section 1122 of the

Bankruptcy Code.

         B.       Specification of Classes, Impairment, and Treatment — § 1123(a)(1)–(3).

         18.      Article III of the Plan specifies in detail the classification of Claims and Interests,

whether such Claims and Interests are Impaired, and the treatment that each Class of Claims and

Interests will receive under the Plan.                 Accordingly, I believe that the Plan satisfies

sections 1123(a)(1)–(3) of the Bankruptcy Code.

         C.       Equal Treatment of Similarly Situated Claims and Interests — § 1123(a)(4).

         19.      Holders of Allowed Claims or Interests will receive the same treatment as other

Holders of Allowed Claims or Interests within such Holders’ respective Class, unless the Holder

of such Claim or Interest has agreed to less favorable treatment. Additionally, I understand that

the Plan provides for a $75 million equity Rights Offering in exchange for new money, all of which

was offered to holders of Second Lien Term Loan Claims on a pro rata basis. The consideration

provided to holders of Second Lien Term Loan Claims for participating in the equity Rights

Offering, and to the Tranche B DIP Lenders for backstopping the Rights Offering, is not

consideration on account of such parties’ Allowed Claims. Rather, such consideration is in

exchange for new valuable commitments by such parties to provide necessary additional liquidity

to the Company.16         Accordingly, I believe that the Plan satisfies section 1123(a)(4) of the

Bankruptcy Code.




16   The Rights Offering and Exit Facilities (as defined in the Turnbull Declaration) are discussed in more detail in
     the Declaration of Andrew Turnbull, Managing Director of Houlihan Lokey Capital, Inc., in Support of the
     Debtors’ Disclosure Statement for, and Confirmation of, the Joint Prepackaged Chapter 11 Plan of
     Reorganization of Carestream Health, Inc., and Its Debtor Affiliates (the “Turnbull Declaration”), filed
     contemporaneously herewith.


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       D.      Means for Implementation — § 1123(a)(5).

       20.     I believe that the Plan provides adequate means for its implementation as required

under section 1123(a)(5) of the Bankruptcy Code. Article IV and various other provisions of the

Plan describe the means for the cancelation of documents evidencing existing Claims and Interests

and implementation of the transactions provided for in the Plan, including, among other things:

(a) the Restructuring Transactions; (b) the sources of consideration for Plan distributions,

including the Rights Offering; (c) the entry into the New Term Loan Facility in accordance with

the New Term Loan Documents; (d) the entry into the New ABL Facility in accordance with the

New ABL Documents; (e) the issuance and distribution of the New Common Stock; (f) the

adoption of the New Organizational Documents; (g) the implementation of the Management

Compensation Programs; (h) the consummation of various corporate transaction steps necessary

to implement the new corporate structure upon emergence; and (i) the preservation of Causes of

Action and release of Avoidance Actions. In addition to these core transactions, the Plan sets forth

the other critical mechanics of the Debtors’ emergence, such as the vesting of estate assets in the

Reorganized Debtors, the assumption or rejection of Executory Contracts and Unexpired Leases,

and the settlement of Claims and Interests.

       21.     The precise terms governing the execution of certain of these transactions are set

forth in the applicable definitive documents or forms of agreements included in the Plan

Supplement. As a result, I believe the Plan satisfies section 1123(a)(5) of the Bankruptcy Code.

       E.      Prohibition of Issuance of Non-Voting Stock — § 1123(a)(6).

       22.     Article IV.H of the Plan provides that the Reorganized Debtors’ New

Organizational Documents will prohibit the issuance of non-voting equity securities to the extent

required by section 1123(a)(6) of the Bankruptcy Code. Further, the relevant New Organizational



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Documents for the Reorganized Debtors do in fact reflect such prohibition. Accordingly, I believe

that the Plan satisfies section 1123(a)(6) of the Bankruptcy Code.

       F.      Selection of Officers and Directors — § 1123(a)(7).

       23.     I understand that section 1123(a)(7) of the Bankruptcy Code requires that plan

provisions with respect to the manner of selecting any director, officer, or trustee, or any other

successor thereto, be “consistent with the interests of creditors and equity security holders and with

public policy.” Article IV.K of the Plan sets forth the structure of the New Board and the

procedures for selection of the New Board. I understand that, on the Effective Date, the term of

the current members of the ultimate board of directors of the Debtors will expire, and such current

directors will be deemed to have resigned. The members of the New Board and the officers of the

Reorganized Debtors were disclosed in the Plan Supplement. From and after the Effective Date,

the New Board shall serve pursuant to the terms of the applicable New Organizational Documents.

I believe the selection of the members of the New Board is consistent with the interests of all

Holders of Claims and Interests and public policy. Accordingly, I believe the Plan satisfies the

requirements of section 1123(a)(7) of the Bankruptcy Code.

       G.      The Debtors Solicited the Plan in Compliance with the Bankruptcy Code —
               § 1129(a)(2).

       24.     I believe that the Plan satisfies section 1129(a)(2) of the Bankruptcy Code, which I

understand requires that the proponent of a plan of reorganization comply with the applicable

provisions of the Bankruptcy Code. I understand that section 1129(a)(2) of the Bankruptcy Code

encompasses the disclosure and solicitation requirements set forth in section 1125 of the

Bankruptcy Code and the plan acceptance requirements set forth in section 1126 of the

Bankruptcy Code.




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         25.      I understand that the Debtors solicited and tabulated votes on the Plan in accordance

with the customary solicitation procedures for prepackaged chapter 11 plans of reorganization

established in this district. I believe the Debtors, through their Solicitation Agent, complied with

the content and delivery requirements of sections 1125(a) and (g) of the Bankruptcy Code by

distributing copies of the Disclosure Statement and Plan to all voting creditors and posting the

Disclosure Statement and Plan on the Debtors’ public restructuring case website.17 Prior to

solicitation, the Disclosure Statement and the Plan were subject to review and comment by the

Crossover Group and its advisors. To the best of my knowledge, no stakeholder has asked for

additional information or disputed that the Disclosure Statement contained information sufficient

for impaired claimants to be able to cast an informed vote on the Plan. I understand the Debtors

also satisfied section 1125(c) of the Bankruptcy Code, which provides that the same disclosure

statement must be transmitted to each Holder of a Claim or Interest in a particular Class. With

respect to modifications to the Plan, it is my understanding that such changes are permissible

modifications to the Plan that do not reflect material differences to recoveries of each affected

Class—i.e., no Holder is “likely” to reconsider its acceptance.

         26.      The Voting Report reflects the results of the voting process in accordance with

section 1126 of the Bankruptcy Code. Based on the foregoing, I believe that the Debtors have

satisfied the requirements of section 1129(a)(2) of the Bankruptcy Code by complying with

sections 1125 and 1126 of the Bankruptcy Code.




17   For additional details regarding the Debtors’ solicitation process and voting results, see the Declaration of Adam
     Gorman Regarding the Solicitation and Tabulation of Votes on the Joint Prepackaged Chapter 11 Plan of
     Reorganization of Carestream Health, Inc., and Its Debtor Affiliates [Docket No. 42] (the “Voting Report”).


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       H.      The Debtors Proposed the Plan in Good Faith — § 1129(a)(3).

       27.     I believe that the Plan was proposed in good faith with the legitimate honest

purposes of restructuring the Debtors’ balance sheet and enabling the Debtors to reorganize,

achieve a fresh start, and maintain their value as a going concern. The Plan is the product of

months of extensive arm’s-length negotiations among the Debtors, the Consenting Parties, and

other key constituents. The unanimous support of the Plan from all 413 Holders of the First Lien

Claims and Second Lien Term Loan Claims, who are re-investing in the reorganized capital

structure and allowing a portion of their recovery to be distributed to Holders of General Unsecured

Claims, is strong evidence that the Plan is likely to succeed and maximizes value for all

stakeholders. Indeed, the Plan has been accepted by 100 percent of voting creditors, and no party

has voted to reject the Plan. I believe that the Debtors have upheld their fiduciary duties to

stakeholders and protected the interests of all constituents with an even hand. Accordingly, I

believe that the Plan satisfies the requirements of section 1129(a)(3) of the Bankruptcy Code.

       I.      Payment of Professional Fees and Expenses Are Subject to Court Approval —
               § 1129(a)(4).

       28.     It is my understanding that section 1129(a)(4) of the Bankruptcy Code requires that

certain fees and expenses paid by the plan proponent, by a debtor, or by a person receiving

distributions of property under the plan, be approved by the Court as reasonable. I can confirm

that the Plan provides that Professional Fee Claims and corresponding payments are subject to

prior Court approval and the reasonableness requirements under sections 328 and 330 of the

Bankruptcy Code. Article II.C.1 of the Plan requires Professionals to file all final requests for

payment of Professional Fee Claims no later than forty‑five days after the Effective Date, thereby

providing an adequate period of time for interested parties to review such Professional Fee Claims.




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Accordingly, I believe the Plan satisfies the requirements of section 1129(a)(4) of the

Bankruptcy Code.

       J.      Compliance with Governance Disclosure Requirements — § 1129(a)(5).

       29.     As of the Effective Date, the term of the current members of the ultimate board of

directors of the Debtors shall expire, such current directors shall be deemed to have resigned, and

all of the directors for the initial term of the New Board shall be appointed. As described above,

in accordance with Article IV.K of the Plan, the members of the New Board were disclosed in the

Plan Supplement, including the Chief Executive Officer of the Reorganized Debtors. The New

Board were selected in accordance with the New Organizational Documents and Shareholders

Agreement. In addition, for subsequent terms, the directors shall be selected in accordance with

such documents.

       30.     As set forth in the Plan Supplement, the Debtors propose that their existing officers

remain in their current capacities as officers of the Reorganized Debtors. I believe that the

Debtors’ existing officers have at all times proceeded in good faith and with diligence and care in

connection with these chapter 11 cases. Furthermore, the Reorganized Debtors’ proposed officers

have significant knowledge and solid business and industry experience, are competent, and will

provide the Reorganized Debtors with continuity in running the business. Therefore, I believe that

the requirements under section 1129(a)(5) of the Bankruptcy Code are satisfied.

       K.      Governmental Regulatory Approval of Rate Changes — § 1129(a)(6).

       31.     It is my understanding that section 1129(a)(6) of the Bankruptcy Code permits

confirmation only if any regulatory commission that has or will have jurisdiction over a debtor

after confirmation has approved any rate change provided for in the plan. It is my understanding

that no such rate changes are provided for in the Plan and thus, section 1129(a)(6) is not

applicable here.

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       L.      Classes Unimpaired Under or Accepting the Plan — § 1129(a)(8).

       32.     I understand that the Bankruptcy Code generally requires that each class of claims

or interests must either accept the plan or be unimpaired under the plan. If any class of claims or

interests rejects the plan, the plan must satisfy the “cramdown” requirements with respect to the

claims or interests in that class. I understand that all 413 Holders of the Claims in the Voting

Classes (Class 3 and Class 4) voted unanimously to accept the Plan. Holders of Claims in

Classes 1, 2, 5, 6, and 7 are conclusively presumed to accept the Plan and thus were not entitled to

vote. Holders of Claims and Interests in Classes 8 and 9 are deemed to have rejected the Plan and

thus were not entitled to vote. While the Plan does not satisfy section 1129(a)(8) of the Bankruptcy

Code with respect to the Impaired Classes that were deemed to reject the Plan, I understand the

Plan is confirmable because it satisfies sections 1129(a)(10) and 1129(b) of the Bankruptcy Code,

as discussed below.

       M.      Priority Cash Payments — § 1129(a)(9).

       33.     It is my understanding that the Bankruptcy Code generally requires that claims

entitled to administrative priority must be repaid in full in cash or receive certain other specified

treatment as agreed to by the claim holder in satisfaction of the claim. Article II.A of the Plan

provides that each Holder of an Allowed Administrative Claim will receive cash equal to the

amount of such Allowed Administrative Claim on the Effective Date, or as soon as reasonably

practicable thereafter, or at such other time set forth in Article II.A of the Plan. In addition, no

Holders of the types of Claims specified by section 1129(a)(9)(B) are Impaired under the Plan.

Finally, Article II.D of the Plan specifically provides that each Holder of Allowed Priority Tax

Claims shall be treated in accordance with the terms of section 1129(a)(9)(C) of the Bankruptcy

Code. Thus, it is my understanding that the Plan complies with section 1129(a)(9) of the

Bankruptcy Code.

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       N.      Impaired, Non-Insider Accepting Class of Claims — § 1129(a)(10).

       34.     It is my understanding that the Bankruptcy Code provides that, to the extent there

is an impaired class of claims, at least one impaired class of claims must accept the plan “without

including any acceptance of the plan by any insider.” All Holders of Claims in Class 3 and Class 4,

which are Impaired, voted to accept the Plan independent of any insiders’ votes. Accordingly, I

believe that the Plan satisfies the requirements of section 1129(a)(10) of the Bankruptcy Code.

       O.      The Plan Is Feasible — § 1129(a)(11).

       35.     It is my understanding that section 1129(a)(11) of the Bankruptcy Code provides

that a plan may only be confirmed if confirmation of the plan is not likely to be followed by the

liquidation, or need for further financial reorganization, of the debtor or any successor to the debtor

under the plan, unless such liquidation or reorganization is proposed in the plan. This is commonly

referred to as the requirement that the plan be “feasible.”

       36.     In connection with proposing the Plan and presenting the Plan to the Court for

confirmation, the Debtors and their advisors thoroughly analyzed the Reorganized Debtors’ ability

to meet their respective post-Confirmation obligations under the Plan and to continue as a going

concern without the need for further financial restructuring. The Debtors negotiated and secured

exit financing in the form of the New ABL Facility, the Rights Offering, and the DIP Rollover to

manage post-emergence liquidity and to meet their obligations in the ordinary course. The

Debtors’ management team and their advisors have made significant progress in designing and

implementing a business plan that will enable the Reorganized Debtors to succeed in their

go-forward operations given current industry trends.

       37.     In addition, the Debtors, together with their advisors, have closely evaluated their

cash flows to ensure that they will be able to make all required Plan payments on the Effective



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Date and beyond.18 The financial projections for the Reorganized Debtors prepared by the

Debtors’ management and advisors and attached as Exhibit D to the Disclosure Statement

(the “Financial Projections”) provide a forecast of the financial performance of the Reorganized

Debtors for the remainder of the fiscal year ended December 31, 2022 and for fiscal years 2023

through 2026 (the “Projection Period”). I understand that the Financial Projections were prepared

assuming an Effective Date on or around October 1, 2022 and implementation of the Plan in

accordance with its stated terms. I have been involved in the formulation of the material

assumptions included in the Financial Projections, understand how they were prepared and the

underlying methodology, and agree with the approach used. Therefore, I can represent that they

were prepared in good faith and are reasonable and appropriate to provide the foundation for the

Financial Projections and the Plan. The Financial Projections demonstrate the Debtors’ ability to

meet their obligations under the Plan and as they come due in the ordinary course of business. In

sum, the assets and Financial Projections of the Reorganized Debtors demonstrate a reasonable

assurance that the Debtors will have and maintain sufficient liquidity and capital resources to pay

amounts due under the Plan and fund their operations during the Projection Period.

         38.      Accordingly, I believe that the Plan is feasible and that confirmation is not likely to

be followed by liquidation or further financial reorganization of the Debtors or any of their

successors under the Plan.

         P.       The Plan Provides for Payment of All Statutory Fees — § 1129(a)(12).

         39.      Article II.E of the Plan provides that all fees and charges payable under

section 1930 of title 28 of the United States Code, to the extent not previously paid, will be paid



18   In fact, pursuant to the interim all trade order [Docket No. 70], the Debtors generally have been paying obligations
     in the ordinary course during the pendency of these chapter 11 cases.


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for each quarter until the applicable chapter 11 case of such Reorganized Debtor is converted,

dismissed, or closed, whichever occurs first.        Thus, I believe that the Plan complies with

section 1129(a)(12) of the Bankruptcy Code.

       Q.      Retiree Benefits Will Continue Post-Confirmation — § 1129(a)(13).

       40.     I understand that Article V.H.1 of the Plan provides that, from and after the

Effective Date, all retiree benefits as defined in section 1114 of the Bankruptcy Code, if any, will

continue in the ordinary course in accordance with applicable law. Accordingly, I believe that the

Plan complies with section 1129(a)(13) of the Bankruptcy Code.

II.    THE PRINCIPAL PURPOSE OF THE PLAN IS NOT THE AVOIDANCE OF
       TAXES OR THE AVOIDANCE OF SECTION 5 OF THE SECURITIES ACT AS
       REQUIRED UNDER SECTION 1129(D) OF THE BANKRUPTCY CODE.

       41.     The Plan has not been filed for the principal purpose of avoidance of taxes or the

application of section 5 of the Securities Act of 1933, as amended. Rather, I believe that the

Debtors filed the Plan to accomplish their objective of reorganizing their capital structure and

maximizing value for all of their stakeholders. The Restructuring Transactions contemplated by

the Plan will eliminate approximately $470 million of the Debtors’ total funded debt and provide

the Debtors with up to $75 million in new equity capital and the $85 million New ABL Facility at

exit. The Plan’s comprehensive deleveraging will strengthen the Debtors’ balance sheet and set

the Debtors on the path for long-term success. Moreover, no party that is a governmental unit, or

any other entity, has requested that the Court decline to confirm the Plan on the grounds that the

principal purpose of the Plan is the avoidance of taxes or the avoidance of the application of

section 5 of the Securities Act of 1933.




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III.   THE PLAN SATISFIES THE “CRAM DOWN” REQUIREMENTS OF
       SECTION 1129(B) OF THE BANKRUPTCY CODE.

       42.       I understand that the Plan’s treatment of the non-accepting Impaired Classes

deemed to reject the Plan—Class 8 and Class 9, and possibly Class 6 and Class 7—is proper

because all similarly situated Claims and Interests will receive substantially similar treatment,

there is a reasonable basis for those Claims and Interests being classified separately from other

Claims and Interests that remain Unimpaired, and the Plan’s classification scheme rests on a

legally acceptable rationale. Claims and Interests in deemed rejecting Classes are not similarly

situated to any other Classes given their distinctly different legal character from all other Claims

and Interests.

       43.       With respect to Class 6 (Intercompany Claims) and Class 7 (Intercompany

Interests), the relevant Claims and Interests may be Unimpaired. These Intercompany Claims and

Intercompany Interests, which exist to support the Debtors’ corporate structure, may be Reinstated

because reinstatement of intercompany claims and interests advances an efficient reorganization

by avoiding the need to unwind and recreate the corporate structure and relationships of the

Reorganized Debtors. This reinstatement does not affect the economic substance of the Plan for

the Debtors’ stakeholders.

       44.       With respect to Class 8 (Existing Interests), the Debtors formed Class 8 to include

Holders of Interests in Carestream Health Holdings, Inc. As explained above, Existing Interests

are classified separately from Intercompany Interests to preserve the option to either Reinstate,

compromise, or cancel Intercompany Interests. Significantly, Holders of Intercompany Interests

will not receive a recovery under the Plan and Intercompany Interests may be Reinstated only for

administrative convenience in the restructuring process. Thus, the Plan’s treatment of Class 8 is

proper because no similarly situated class will receive more favorable treatment.


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       45.     I understand that, with respect to Class 9 (Section 510(b) Claims), the Debtors do

not believe any Section 510(b) Claims exist. Out of an abundance of caution, the Debtors formed

Class 9 to include Holders of Claims that may be subordinated pursuant to section 510(b) of the

Bankruptcy Code.

       46.     Based on my review of the Plan, I understand that no Holder of a Claim or Interest

junior to an Impaired rejecting Class of Claims or Interests will receive any recovery under the

Plan on account of such Claim or Interest. I understand that although certain Claims and Interests

may be provided a recovery or Reinstatement under the Plan before senior Claims are paid in full,

Holders of impaired senior Claims have voted in favor of the Plan. Specifically, although General

Unsecured Clams will be satisfied in full while the senior Second Lien Term Loan Claims will

receive less than full recovery, Holders of Second Lien Term Loan Claims have voted

overwhelmingly in favor of the Plan, and no Holder of Second Lien Term Loan Claims has voted

to reject the Plan. General Unsecured Claims are being reinstated under the Plan to preserve the

Debtors’ relationships with their customers and contract counterparties, which are essential to the

Debtors’ go-forward business.

       47.     In addition, no subset of Holders of Existing Equity Interests are being harmed,

mistreated, or discriminated against under the Plan. To the extent any Holder is entitled to receive

certain distributions on account of their commitments with respect to the Reorganized Debtors, I

understand that such distributions are not on account of prepetition Claims against the Debtors.

Moreover, I understand that each Voting Class voted to accept the Plan notwithstanding such

distributions—which I believe in each case were negotiated in good faith at arm’s length to fund

the new investment needed for the Debtors’ survival and to develop a new capital structure that

provides for a full recovery for General Unsecured Claims and fortifies the Debtors’ balance sheet.



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       48.     Accordingly, I believe the Plan satisfies the absolute priority rule, does not unfairly

discriminate, and is “fair and equitable” with respect to all Impaired Classes of Claims and Interests

and satisfies section 1129(b) of the Bankruptcy Code.

IV.    THE PLAN COMPLIES WITH THE DISCRETIONARY PROVISIONS OF
       SECTION 1123(B) OF THE BANKRUPTCY CODE.

       49.     I understand that the Plan includes various discretionary provisions that are

consistent with section 1123(b) of the Bankruptcy Code, but not necessary for confirmation under

the Bankruptcy Code. For example, the Plan (a) classifies certain Classes of Claims and Interests

as Impaired and leaves others Unimpaired, (b) provides for the assumption of all Executory

Contracts and Unexpired Leases under section 365 of the Bankruptcy Code (except to the extent

set forth in the Plan), and (c) provides for a general settlement of all Claims and Interests pursuant

to section 1123 of the Bankruptcy Code. In addition, I understand that the Plan includes certain

Debtor and third-party releases, an exculpation provision, and an injunction provision. I believe

these provisions represent a valid exercise of the Debtors’ business judgement, are fair, reasonable,

and in the best interests of the Debtors’ Estates, are the product of extensive arm’s-length

negotiations, and were critical to obtaining support for the Plan.

       A.      The Debtor Release Is Appropriate.

       50.     Article VIII.C of the Plan provides for releases by the Debtors, as of the Effective

Date, of, among other things, certain claims, rights, and causes of action that the Debtors and their

successors may have against the Released Parties (the “Debtor Release”). The Debtor Release was

negotiated in connection with the other terms of the Plan, and is an indispensable component to

achieve final resolution of potential disputes that would otherwise negatively affect these

chapter 11 cases and the available recoveries under the Plan.




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       51.     First, each Released Party has made a substantial contribution to the Debtors’

Estates. The Released Parties played an integral role in the formulation of the Plan and contributed

to the Plan not only by expending significant time and resources analyzing and negotiating the

terms thereof, but also in giving up material economic interests to ensure the success of

the Debtors’ chapter 11 cases. The Debtors’ directors, officers, professionals, and other agents

have been instrumental in negotiating, formulating, and implementing the restructuring

transactions contemplated by the Plan.

       52.     Second, the Debtor Release is essential to the Debtors’ reorganization because it

constitutes an integral term of the Plan. Indeed, absent the Debtor Release, it is highly unlikely

the Debtors would have been able to build the extraordinary level of consensus with respect to the

Plan and the transactions contemplated thereby. Importantly, the Debtor Release is the product of

arm’s-length negotiations between the Debtors and their key stakeholders and is limited in scope.

In consideration for the Debtor Release, the Debtors and their Estates will receive mutual releases

from potential Claims and Causes of Action of each of the Releasing Parties in addition to the

significant benefits provided to the Debtors through this prepackaged chapter 11 process. The

Debtors do not believe that they have material causes of action against any of the Released Parties

that would justify the risk, expense, and delay of pursuing any such causes of action as compared

to the results and benefits achieved under the Plan. Nevertheless, as set forth in the amended Plan,

the Debtor Release contains a carve-out for actual fraud, willful misconduct, and gross negligence.

Importantly, the Debtor Release provides finality and avoids significant delay in consummating

the Plan, and therefore the inclusion of the Debtor Release is worthwhile and inures to the benefit

of all the Debtors’ stakeholders.




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       53.     Third, I understand that no stakeholders have objected to the Debtor Release

contained in the Plan. All of the creditors in the Voting Classes voted to accept the Plan (including

the Debtor Release).

       54.     Fourth, I understand that an identity of interest exists between the Debtors and the

parties to be released. Each Released Party, as a stakeholder and critical participant in the Plan

process, shares a common goal with the Debtors in seeing the Plan succeed and having the Debtors’

businesses reorganized. Like the Debtors, these parties seek to confirm the Plan and implement

the transactions contemplated thereunder.

       55.     Fifth, the Plan provides for meaningful recoveries for substantially all of the Claims

in Classes affected by the Debtor Release. Furthermore, as noted above, the Debtor Releases are

supported by all parties entitled to vote on the Plan on a unanimous basis.

       56.     For these reasons, I believe that the Debtor Release is justified, is a sound exercise

of the Debtors’ business judgment, is in the best interests of creditors and all stakeholders, is an

integral part of the Plan, and satisfies key factors considered by courts in determining whether a

debtor release is proper.

       B.      The Consensual Third-Party Release Is Appropriate.

       57.     Article VIII.D of the Plan also contains a third-party release provision

(the “Third-Party Release”). Based on my discussion with the Debtors’ advisors, I understand that

the Third-Party Release is a consensual release. I understand that all Holders of Claims entitled to

Vote had the opportunity to opt out of the Third-Party Release through their Ballots, and that

remaining Holders of Claims and Interests had the opportunity to object to the Third-Party Release

by timely filing on the Docket of the chapter 11 cases an objection that is not resolved

before Confirmation.



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       58.     Importantly, the Ballots and the Combined Hearing Notice quoted the entirety of

the Third-Party Release in bold, conspicuous font, clearly informing such Holders of the steps they

should take if they disagreed with the scope of the release. Thus, affected parties were on notice

of the Third-Party Release, including the option to opt out or object to the Third‑Party Release.

As such, I believe that the Third-Party Release is consensual as to all creditors and interest holders

who did not object. Finally, as set forth in the amended Plan, the Third-Party Release contains a

carve-out for actual fraud, willful misconduct, and gross negligence.

       59.     I believe that the Third-Party Release is an integral and essential provision of the

Plan and provides finality for the Released Parties regarding the Party’s respective obligations

under the Plan, is in exchange for good and valuable consideration provided by the Released

Parties, is in the best interests of the Debtors, the Estates, and all Holders of Claims and Interests,

is fair and equitable, and reasonable, and is given and made after due notice and opportunity to

be heard.

       60.     For months prior to the commencement of these chapter 11 cases and throughout

the pendency of these chapter 11 cases, the Released Parties worked constructively with the

Debtors to negotiate and implement a value-maximizing reorganization embodied in the Plan that

enables the Reorganized Debtors to emerge from these chapter 11 cases with a right-sized capital

structure and the ability to continue to provide their customers with the highest quality of service.

I believe the Released Parties worked constructively with the Debtors to negotiate and implement

the reorganization embodied in the Plan and have provided material concessions, benefits, and

commitments to the Debtors through the Restructuring Support Agreement, during the pendency

of the cases, such as: (a) the Sponsor waiving its General Unsecured Claims against the Debtors;

(b) certain of the Consenting Lenders committing, and funding, the Debtors’ $80 million DIP



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Facility; (c) the Tranche B DIP Lenders agreeing to backstop the Rights Offering through the DIP

Rollover; (d) the Prepetition Secured Parties’ consent to the Debtors’ use of cash collateral during

the chapter 11 cases; (e) certain Prepetition Secured Parties committing to provide a portion of the

$85 million New ABL Facility upon Emergence; and (f) the Third-Party Releases were negotiated

as part of the Restructuring Support Agreement, which provided concrete evidence to the market

of the support of the Debtors’ key stakeholders and in turn provided stability to the Debtors’

business while the Debtors navigated the restructuring process. In addition, I believe that the

Debtors’ directors and officers steadfastly maintained their duties to maximize value for the benefit

of all stakeholders. The Debtors’ management has provided their extensive industry knowledge

to the Debtors during the Restructuring Support Agreement and Plan negotiations, which required

collaborating constructively with their stakeholders. I understand that management will continue

to facilitate the restructuring process during and after these chapter 11 cases and, as such, have

made and will continue to make indispensable contributions to the successful reorganization of the

Debtors. Further, I understand that without the concession by the Consenting Second Lien Lenders

to equitize their Second Lien Term Loan Claims, Holders of General Unsecured Claims would not

have received a full recovery in these chapter 11 cases.

       61.     For the foregoing reasons, I believe that the Third-Party Releases are permissible,

and I understand that no party has asserted otherwise.

       C.      The Exculpation Provision Is Appropriate.

       62.     Based on my experience and discussions with the Debtors’ advisors, it is my belief

that the exculpation provision described in Article VIII.E of the Plan (the “Exculpation”) is

appropriate under applicable law because it was proposed in good faith, was formulated following

extensive good-faith, arm’s-length negotiations with key constituents, and is appropriately limited



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in scope. The Exculpation is intended to prevent collateral attacks against Estate fiduciaries or

parties that have acted in good faith to help facilitate the Debtors’ reorganization.

       63.     Here, the Debtors and their officers, directors, and professionals actively negotiated

with Holders of Claims and Interests across the Debtors’ capital structure in connection with the

Plan and the restructuring transactions contemplated in these chapter 11 cases. Such negotiations

were extensive and the resulting agreements were implemented in good faith with a high degree

of transparency. As a result, the Plan enjoys unanimous support from the voting Holders of Claims.

In addition, I understand that the promise of exculpation played a significant role in facilitating

Plan negotiations. In short, I believe that the Exculpation represents an integral piece of the overall

settlement embodied in the Plan and is the product of good-faith, arm’s-length negotiations, and

significant sacrifice by the Exculpated Parties.

       64.     Accordingly, under the circumstances, I believe that it is appropriate for the Court

to approve the exculpation provision and to find that the Exculpated Parties have acted in good

faith and in compliance with the law.

       D.      The Injunction Provision Is Appropriate.

       65.     The    injunction    provision      set    forth   in   Article   VIII.F   of   the   Plan

(the “Injunction Provision”) implements the Plan’s discharge, release, and exculpation provisions

by permanently enjoining all Entities from commencing or maintaining any action against the

Debtors, the Reorganized Debtors, the Released Parties, or the Exculpated Parties on account of,

or in connection with, or with respect to, any such Claims or Interests discharged, released,

exculpated, or settled under the Plan.

       66.     I believe that the Injunction Provision is a necessary part of the Plan because it

enforces the discharge, release, and exculpation provisions that are centrally important to the Plan.

Further, the injunction provided for in the Plan is narrowly tailored to achieve its purpose. As
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noted above, I believe these provisions are foundational to the success of the Plan and these

chapter 11 cases, and I believe the Injunction Provision should be approved.19

V.        THE PLAN COMPLIES WITH SECTION 1123(D) OF THE BANKRUPTCY
          CODE.

          67.      I understand that section 1123(d) of the Bankruptcy Code provides that the amount

proposed in a plan to cure a default will be determined in accordance with the underlying

agreement and applicable nonbankruptcy law. I understand that Article V of the Plan provides for

the satisfaction of monetary defaults under each Executory Contract and Unexpired Lease to be

assumed under the Plan, by payment of the default amount, if any, on the Effective Date. I

understand that, where such amounts are under review, cure amounts will be reconciled

post-Effective Date pursuant to the terms of any such assumed Executory Contract or Unexpired

Lease, as applicable, as noted in the Debtors’ Schedule of Proposed Cure Amounts filed in the

Plan Supplement. Accordingly, it is my opinion that the Plan satisfies the requirements of

section 1123(d) of the Bankruptcy Code.

VI.       MODIFICATIONS TO THE PLAN DO NOT REQUIRE RESOLICITATION.

          68.      I understand that section 1127(a) of the Bankruptcy Code provides that a plan

proponent may modify its plan at any time before confirmation as long as such modified plan

meets the requirements of sections 1122 and 1123 of the Bankruptcy Code. Further, I understand

that Bankruptcy Rule 3019 provides that modifications after a plan has been accepted will be

deemed accepted by all creditors and equity security holders who have previously accepted the

plan if the court finds that the proposed modifications do not materially and adversely change the

treatment of the claim of any creditor or the interest of any equity security holder.


19    The foregoing description is a summary of the operative plan provisions only. To the extent there is any conflict
      between the foregoing summary and the Plan, the Plan shall control.


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       69.     Here, the Debtors made certain modifications to the Plan after the Solicitation

Period ended. I believe that such modifications are either (a) immaterial or technical clarifications,

or (b) modifications that resolve an informal objection to the Plan. In particular, I understand the

Debtors worked with the U.S. Trustee to address comments generally related to the scope of the

discharge, settlement, and release and exculpation provisions, the rights of Holders of Unimpaired

Claims, and the Plan language regarding payment of statutory fees. Importantly, I understand that

all Holders of Claims in Voting Classes are receiving the same recovery as contemplated under

the original Plan. Further, I understand that the Crossover Group supports the modifications.

Accordingly, I believe that the modifications to the Plan do not require resolicitation of the Plan

under section 1127 of the Bankruptcy Code.

VII.   GOOD CAUSE EXISTS TO WAIVE THE STAY OF THE CONFIRMATION
       ORDER.

       70.     I understand that Bankruptcy Rule 3020(e) provides that “[a]n order confirming a

plan is stayed until the expiration of 14 days after the entry of the order, unless the court orders

otherwise.” I also understand that Bankruptcy Rules 6004(h) and 6006(d) provide similar stays to

orders authorizing the use, sale, or lease of property (other than cash collateral) and orders

authorizing a debtor to assign an executory contract or unexpired lease under section 365(f) of the

Bankruptcy Code. It is my understanding that each rule also permits modification of the imposed

stay upon court order.

       71.     Good cause exists for waiving and eliminating any stay of the proposed

Confirmation Order pursuant to Bankruptcy Rules 3020, 6004, and 6006 so that the proposed

Confirmation Order will be effective immediately upon its entry. These chapter 11 cases and the

related Plan transactions, including the Restructuring Transactions, have been negotiated and

implemented in good faith and with a high degree of transparency and public dissemination of


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information, both pre- and postpetition. Additionally, each day the Debtors remain in chapter 11

they incur significant administrative and professional costs, which will be significantly reduced if

the Debtors emerge expeditiously.

       72.     For these reasons, the Debtors, their advisors, and other key constituents are

working to expedite the Debtors’ entry into and consummation of the documents and transactions

related to the Restructuring Transactions so that the Effective Date of the Plan may occur as soon

as possible after the Confirmation Date. Accordingly, I believe that good cause exists to waive

the stay of the Confirmation Order.

                                             Conclusion

       73.     In conclusion, it is my opinion as the Chief Financial Officer of the Debtors, and

having been involved in virtually every aspect of the chapter 11 cases and the negotiation of the

Restructuring Support Agreement and the Plan, that confirmation of the Plan is appropriate, is in

the best interests of all parties-in-interest, and should be approved.


                            [Remainder of page intentionally left blank]




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          Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing

   statements are true and correct to the best of my knowledge, information, and belief.

Dated: September 26, 2022                    /s/ Scott H. Rosa
                                             Scott H. Rosa
                                             Chief Financial Officer
                                             Carestream Health, Inc.
